                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       Case No. 1:09-CR-98
                                               )
 NICHOLAS EVANS                                )       MATTICE/CARTER


                                             ORDER

        On August 12, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Nicholas Evans’ (“Defendant”)

 plea of guilty to Count One of the Indictment, to the extent it charges conspiracy to manufacture,

 distribute, and possess with the intent to distribute fifty (50) grams or more of a mixture or

 substance containing a detectable amount of cocaine base (“crack”) in violation of 21 U.S.C. §§

 846, 841(a)(1) and (b)(1)(A), in exchange for the undertakings made by the government in the

 written plea agreement (b) the Court adjudicate Defendant guilty of the charges set forth in Count

 One of the Indictment; and (c) Defendant shall remain in custody pending sentencing in this

 matter (Doc. 173). Neither party filed an objection within the given ten days. After reviewing

 the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 173) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, to the extent it charges

 conspiracy to manufacture, distribute, and possess with the intent to distribute fifty (50) grams or

 more of a mixture or substance containing a detectable amount of cocaine base (“crack”) in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), is ACCEPTED;




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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment; and

        (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 November 16, 2009, at 9:00 am.

        SO ORDERED.

        ENTER:

                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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